USCA Case #22-7063     Document #2016393               Filed: 09/12/2023     Page 1 of 19




             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued March 20, 2023              Decided September 12, 2023

                                    No. 22-7063

              AMERICAN SOCIETY FOR TESTING AND MATERIALS, ET AL.,
                                 APPELLANTS

                                          v.

                            PUBLIC.RESOURCE.ORG, INC.,
                                    APPELLEE


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:13-cv-01215)



                 Kelly M. Klaus argued the cause for appellants. With him
            on the briefs were J. Kevin Fee, Jane W. Wise, Stanley J.
            Panikowski, Donald B. Verrilli, Jr., Rachel G. Miller-Ziegler,
            Jeffrey S. Bucholtz, David P. Mattern, Kenneth L. Steinthal,
            and Rose Leda Ehler. Alexandra C. Lim entered an
            appearance.

                 Gary D. Sesser was on the brief for amici curiae American
            National Standards Institute and Six Standards Organizations
            in support of appellants.

               Jack R. Bierig was on the brief for amici curiae American
            Medical Association, et al. in support of appellants.
USCA Case #22-7063     Document #2016393              Filed: 09/12/2023       Page 2 of 19




                                          2

                Nancy E. Wolff and Scott J. Sholder were on the brief for
            amicus curiae Copyright Alliance in support of appellants.
            Brian A. Coleman entered an appearance.

                Corynne McSherry argued the cause for appellee. With
            her on the brief were Andrew P. Bridges, Matthew B. Becker,
            Mitchell L. Stoltz, and David E. Halperin.

               Charles Duan was on the brief for amici curiae Former
            Government Publishing Officials Raymond A. Mosley and
            Robert C. Tapella in support of appellee.

               Blake E. Reid was on the brief for amicus curiae Prime
            Access Consulting, Inc., in support of appellee.

                Harold Feld was on the brief for amici curiae Library
            Futures Institute, et al., in support of appellee.

                Erik Stallman and Jennifer M. Urban were on the brief for
            amici curiae Intellectual Property Law Professors in support of
            appellee.

                 Gabriel Rottman, Bruce D. Brown, and Katie Townsend
            were on the brief for amici curiae Reporters Committee for
            Freedom of the Press and 11 Media Organizations in support
            of appellee.

                Joseph C. Gratz was on the brief for amicus curiae County
            of Sonoma in support of appellee.

               Jef Pearlman was on the brief for amicus curiae
            Congresswoman Zoe Lofgren in support of appellee.
USCA Case #22-7063     Document #2016393               Filed: 09/12/2023       Page 3 of 19




                                           3
                 Jacob M. Karr was on the brief for amicus curiae National
            Association for the Advancement of Colored People in support
            of appellee.

                 Nina Srejovic, Rebecca Chambers, and Teague Paterson
            were on the brief for amicus curiae American Federation of
            State, County and Municipal Employees in support of appellee.

                Before: HENDERSON, PILLARD, and KATSAS, Circuit
            Judges.

                Opinion for the Court filed by Circuit Judge KATSAS.

                 KATSAS, Circuit Judge: Many private organizations
            develop and copyright suggested technical standards for an
            industry, product, or problem. Federal and state governments
            often incorporate such standards into law. This case presents
            the question whether third parties may make the incorporated
            standards available for free online. We hold that the non-
            commercial dissemination of such standards, as incorporated
            by reference into law, constitutes fair use and thus cannot
            support liability for copyright infringement.

                                           I

                 Three standard-developing organizations raised copyright
            infringement claims against a defendant for posting online their
            copyrighted standards, as incorporated into law. The district
            court granted summary judgment to the organizations, but we
            reversed and remanded for further factual development. Am.
            Soc’y for Testing & Materials v. Public.Resource.Org, Inc.,
            896 F.3d 437 (D.C. Cir. 2018) (ASTM II). On remand, the
            district court held that the non-commercial posting of standards
            incorporated by reference into law is fair use.
USCA Case #22-7063     Document #2016393                Filed: 09/12/2023       Page 4 of 19




                                           4
                ASTM II gave detailed background information on
            standard-developing organizations, incorporation by reference,
            and the genesis of this dispute. 896 F.3d at 440–45. We give
            only a brief overview here.

                                           A

                 Various private organizations promulgate standards
            establishing best practices for their respective industries or
            products. These organizations copyright their standards and
            generate revenue by selling copies. For example, the National
            Fire Protection Association (NFPA), one plaintiff in this suit,
            develops standards addressing the prevention of fire, electrical,
            and related hazards. One such standard, NFPA 10, addresses
            the design, inspection, maintenance, and testing of portable fire
            extinguishers. The NFPA sells hard copies of its standards as
            well as a subscription service that allows digital access.

                 Federal agencies may incorporate privately developed
            standards into law by referencing them in agency rulemaking.
            Incorporation by reference (IBR) in a published rule allows
            agencies to satisfy the requirement to publish rules in the
            Federal Register without reproducing the standards
            themselves. 5 U.S.C. § 552(a)(1). The Code of Federal
            Regulations contains more than 27,000 incorporations of
            privately developed standards by reference. See Standards
            Incorporated by Reference Database, Nat’l Inst. of Safety &
            Tech., https://sibr.nist.gov [perma.cc/W4BN-HLZG] (last
            visited Aug. 30, 2023).          For example, 29 C.F.R.
            § 1915.507(b)(1) requires shipyard operators to select,
            maintain, and test portable fire extinguishers in accordance
            with NFPA 10, which is incorporated by reference in 29 C.F.R.
            § 1915.5(i)(6).     States and municipalities also have
            incorporated thousands of standards by reference into their
            regulations.
USCA Case #22-7063     Document #2016393                Filed: 09/12/2023       Page 5 of 19




                                           5
                 Congress has authorized and encouraged the use of IBR
            because it allows agencies to avoid duplication of effort and
            helps conform legal standards to industry best practices. See,
            e.g., National Technology Transfer and Advancement Act of
            1995, Pub. L. No. 104-113, § 12(d)(1), 110 Stat. 775, 783. The
            Office of the Federal Register has promulgated regulations and
            guidance governing the IBR process. See 1 C.F.R. §§ 51.1–11.
            As its IBR Handbook explains, “the legal effect of IBR is that
            the referenced material is treated as if it were published in the
            Federal Register and the CFR. When IBRed, this material has
            the force and effect of law.” J.A. 9511 (cleaned up).

                                           B

                 The plaintiffs in this case are three standard-developing
            organizations: the American Society for Testing and Materials
            (ASTM), the American Society of Heating, Refrigerating, and
            Air-Conditioning Engineers (ASHRAE), and the NFPA. The
            defendant, Public.Resource.Org, is a non-profit group that
            disseminates legal and other materials. It has posted on its
            websites copies of hundreds of incorporated standards—
            including standards produced and copyrighted by the plaintiffs.
            As a result, any internet user may view, download, or print
            these standards for free.

                 In 2013, the plaintiffs sued Public Resource for copyright
            infringement. The plaintiffs moved for summary judgment on
            their claims as to nine of the disputed standards. The district
            court granted the motion and enjoined Public Resource from
            posting these standards. The court rejected a defense that
            posting incorporated standards constitutes fair use. ASTM v.
            Public.Resource.Org, Inc., No. 13-cv-1215, 2017 WL 473822
            (D.D.C. Feb. 2, 2017) (ASTM I).

                This Court reversed and remanded for further
            consideration of the fair-use defense. We faulted the parties
USCA Case #22-7063     Document #2016393               Filed: 09/12/2023       Page 6 of 19




                                           6
            for failing to distinguish among the disputed standards in
            conducting the fair-use analysis, and we instructed the parties
            on remand to “develop a fuller record regarding the nature of
            each of the standards at issue, the way in which they are
            incorporated, and the manner and extent to which they were
            copied.” ASTM II, 896 F.3d at 449. We provided several
            guideposts for the fair-use analysis, three of which tended to
            favor the defense. See id. at 448–54. But given the differences
            among the disputed standards and the thinness of the record
            before us, we thought it prudent “to remand the case for the
            district court to further develop the factual record and weigh
            the factors as applied to [Public Resource’s] use of each
            standard in the first instance.” Id. at 448–49.

                 On remand, the parties developed more information about
            217 incorporated standards. Each of them has been superseded
            as a recommended industry standard, yet most remain
            incorporated into law. On cross-motions for summary
            judgment, the district court held that the posting of 184
            standards was fair use, the posting of 32 standards was not fair
            use, and the posting of one standard was fair use in part. ASTM
            v. Public.Resource.Org, Inc., 597 F. Supp. 3d 213 (D.D.C.
            2022) (ASTM III). In a nutshell, the court found fair use as to
            the posting of standards incorporated into law and infringement
            as to the standards not so incorporated. Id. at 232–41. The
            court’s opinion included a 187-page, single-spaced appendix
            separately analyzing each of the disputed standards. Despite
            finding infringement as to the unincorporated standards, the
            court denied injunctive relief based on its finding that Public
            Resource intends to post only incorporated standards and thus
            would voluntarily take down unincorporated ones in response
            to an infringement determination. Id. at 245–47.

                The plaintiffs appealed, but Public Resource did not. We
            have jurisdiction under 28 U.S.C. § 1292(a)(1). We review the
USCA Case #22-7063     Document #2016393               Filed: 09/12/2023       Page 7 of 19




                                           7
            grant of summary judgment de novo, ASTM II, 896 F.3d at 445,
            and the denial of injunctive relief for abuse of discretion, Doe
            v. Mattis, 889 F.3d 745, 751 (D.C. Cir. 2018).

                                           II

                 The Copyright Act protects “original works of authorship
            fixed in any tangible medium of expression.” 17 U.S.C.
            § 102(a). The owner of a valid copyright has the exclusive
            right to reproduce, distribute, or display the copyrighted work.
            Id. § 106. To prove infringement, a plaintiff must show (1) its
            ownership of a valid copyright and (2) the defendant’s copying
            of original elements of the work. Feist Publ’ns, Inc. v. Rural
            Tel. Serv. Co., 499 U.S. 340, 361 (1991).

                 Fair use is an affirmative defense to a claim of copyright
            infringement. Originally a creature of common law, it is now
            codified at 17 U.S.C. § 107, which provides:

                [T]he fair use of a copyrighted work … for purposes such
                as criticism, comment, news reporting, teaching (including
                multiple copies for classroom use), scholarship, or
                research, is not an infringement of copyright. In
                determining whether the use made of a work in any
                particular case is a fair use the factors to be considered
                shall include—

                     (1) the purpose and character of the use, including
                     whether such use is of a commercial nature or is for
                     nonprofit educational purposes;

                     (2) the nature of the copyrighted work;

                     (3) the amount and substantiality of the portion used
                     in relation to the copyrighted work as a whole; and
USCA Case #22-7063     Document #2016393               Filed: 09/12/2023       Page 8 of 19




                                           8
                     (4) the effect of the use upon the potential market for
                     or value of the copyrighted work.

            Fair-use analysis is highly fact-intensive, and the four
            enumerated factors are not exclusive. Harper & Row,
            Publishers, Inc. v. Nation Enters., 471 U.S. 539, 560 (1985).

                 The district court separately analyzed the four factors for
            each of the 217 standards at issue, but its bottom line was
            straightforward: Public Resource’s copying of material
            incorporated by reference into law, for free dissemination to
            the public, was fair use. We agree.

                                           A

                                           1

                The first three factors strongly support holding that Public
            Resource’s posting of incorporated standards was fair use, as
            our opinion in ASTM II suggested.

                 The first factor is “the purpose and character of the use,
            including whether such use is of a commercial nature or is for
            nonprofit educational purposes.” 17 U.S.C. § 107(1). This
            factor “focuses on whether an allegedly infringing use has a
            further purpose or different character, which is a matter of
            degree, and the degree of difference must be weighed against
            other considerations, like commercialism.” Andy Warhol
            Found. for the Visual Arts, Inc. v. Goldsmith, 143 S. Ct. 1258,
            1273 (2023). It supports the defense here for two reasons.

                First, Public Resource’s use is for nonprofit, educational
            purposes. The inquiry focuses on the defendant’s use of the
            material. Harper & Row, 471 U.S. at 562. In ASTM II, we held
            that Public Resource—which disseminates the disputed
            materials for free—is engaged in a nonprofit as opposed to
USCA Case #22-7063     Document #2016393              Filed: 09/12/2023       Page 9 of 19




                                          9
            commercial use. 896 F.3d at 449. Since then, the Supreme
            Court confirmed the importance of that conclusion: “There is
            no doubt that a finding that copying was not commercial in
            nature tips the scales in favor of fair use.” Google LLC v.
            Oracle Am., Inc., 141 S. Ct. 1183, 1204 (2021).

                 Second, Public Resource’s use is transformative because it
            serves a different purpose than the plaintiffs’ works. In
            Warhol, the Supreme Court stressed that “the first factor …
            asks whether and to what extent the use at issue has a purpose
            or character different from the original.” 143 S. Ct. at 1275
            (cleaned up). The plaintiffs seek to advance science and
            industry by producing standards reflecting industry or
            engineering best practices. For example, ASHRAE says its
            mission is to “advance the arts and sciences of heating,
            ventilation, air conditioning and refrigeration to serve
            humanity and promote a sustainable world.” J.A. 7169. Public
            Resource’s mission in republishing the standards is very
            different—to provide the public with a free and comprehensive
            repository of the law. This distinction is fundamental: Public
            Resource publishes only what the law is, not what industry
            groups may regard as current best practices. And although the
            standards at issue have been superseded or withdrawn as
            private standards, they remain important to someone trying to
            figure out what the law is (or, in the case of standards
            prospectively repealed or amended as law, what law governs
            disputes about past conduct).

                 The distinction between standards as best practices and
            standards as law matters even though Public Resource does not
            alter or add to the standards. As we explained in ASTM II, “a
            secondary work can be transformative in function or purpose
            without altering or actually adding to the original work.” 896
            F.3d at 450 (cleaned up). Consider news reporters, who must
            “faithfully reproduce an original work without alteration.” Id.
USCA Case #22-7063     Document #2016393                 Filed: 09/12/2023        Page 10 of 19




                                            10
             (cleaned up). As one court has explained, a reporter’s message
             (“this is what they said”) is very different from the original
             message (“this is what you should believe”). Swatch Grp.
             Mgmt. Servs. v. Bloomberg LP, 756 F.3d 73, 85 (2d Cir. 2014).
             The same principle applies here: Public Resource’s message
             (“this is the law”) is very different from the plaintiffs’ message
             (“these are current best practices for the engineering of
             buildings and products”).

                  The second fair-use factor is “the nature of the copyrighted
             work.” 17 U.S.C. § 107(2). It “calls for recognition that some
             works are closer to the core of intended copyright protection
             than others, with the consequence that fair use is more difficult
             to establish when the former works are copied.” Campbell v.
             Acuff-Rose Music, Inc., 510 U.S. 569, 586 (1994). Application
             of this factor often depends on whether the work is factual or
             fictional, for “the law generally recognizes a greater need to
             disseminate factual works than works of fiction or fantasy.”
             Harper & Row, 471 U.S. at 563.

                  This factor strongly supports a finding of fair use. As we
             explained in ASTM II, standards “fall at the factual end of the
             fact-fiction spectrum, which counsels in favor of finding fair
             use.” 896 F.3d at 451. Moreover, legal text “falls plainly
             outside the realm of copyright protection.” Id. And because
             incorporated standards have legal force, they too fall, “at best,
             at the outer edge of copyright’s protective purposes.” Id.
             (cleaned up). Finally, “[w]here the consequence of the
             incorporation by reference is virtually indistinguishable from a
             situation in which the standard had been expressly copied into
             law, this factor weighs heavily in favor of fair use.” Id. at 452.
             Following this guidance, the district court correctly concluded
             that if a standard “is incorporated into law without limitation,”
             the result is “virtually indistinguishable from a situation in
             which the standard had been expressly copied into law,” so the
USCA Case #22-7063     Document #2016393                Filed: 09/12/2023        Page 11 of 19




                                            11
             second factor thus “weighs heavily in favor of fair use.” ASTM
             III, 597 F. Supp. 3d at 249.

                  The third fair-use factor considers “the amount and
             substantiality of the portion used in relation to the copyrighted
             work as a whole.” 17 U.S.C. § 107(3). It turns on whether the
             extent of the copying is “reasonable in relation to the purpose
             of the copying.” Campbell, 510 U.S. at 586. In ASTM II, we
             stressed that Public Resource’s copying must be considered “in
             light of its purpose of informing the public about the specific
             incorporation at issue.” 896 F.3d at 452.

                  This factor strongly supports fair use because the standards
             at issue have been incorporated and thus have the force of law.
             Public Resource posts standards that government agencies
             have incorporated into law—no more and no less. If an agency
             has given legal effect to an entire standard, then its entire
             reproduction is reasonable in relation to the purpose of the
             copying, which is to provide the public with a free and
             comprehensive repository of the law. Given the “nature” of the
             works at issue, “the fact that the entire work is reproduced does
             not have its ordinary effect of militating against a finding of
             fair use.” Sony Corp. of Am. v. Universal City Studios, Inc.,
             464 U.S. 417, 449–50 (1984) (cleaned up).

                                            2

                 The plaintiffs make two principal objections to this
             analysis of the first three fair-use factors.

                  First, they argue that the district court ignored important
             differences among three different categories of incorporated
             text. The first category includes portions of standards essential
             to comprehending legal duties—for example, NFPA 10’s
             provision for portable fire extinguishers to be inspected
             monthly, given the federal regulation requiring shipyard
USCA Case #22-7063     Document #2016393                 Filed: 09/12/2023        Page 12 of 19




                                            12
             operators to follow that standard, 29 C.F.R. § 1915.507(b)(1).
             The second category includes standards prescribing how
             compliance may be assessed, also known as reference
             procedures. For example, 40 C.F.R. § 86.113-04(a)(1) states
             that the maximum permissible lead content in certain gasoline
             is 0.05 grams of lead per gallon as measured by the test
             procedure in ASTM D3237, which is incorporated by
             reference. The third category includes material that does not
             directly prescribe necessary or sufficient conditions for
             complying with a legal duty—introductory or background
             material, for example, along with material addressing contexts
             other than the focus of the incorporating regulation. For
             example, a regulation governing the operation of veterans’
             cemeteries incorporates NFPA 101 by reference and requires
             covered cemeteries to meet the standard’s applicable
             architectural and structural requirements.         38 C.F.R.
             § 39.63(a)(1). Yet NFPA 101 also provides standards for
             houses, schools, and many other kinds of structures.

                  The plaintiffs argue that under ASTM II, Public Resource
             may copy the first category of material but not the other two.
             In ASTM II, we did stress that material in the first category has
             the strongest claim to fair use. See 896 F.3d at 450. But we
             did not hold that material in the other categories has no such
             claim. Rather, we explained that, if an entity is “distributing
             copies of the law for purposes of facilitating public access,” the
             most important question is what material counts as “law.” Id.
             And all material that has been validly incorporated by reference
             carries the force of law and is treated as having been published
             in the Federal Register and Code of Federal Regulations,
             regardless of where it falls among the three categories. See 5
             U.S.C. § 552(a)(1); J.A. 9511.

                 Moreover, because law is interpreted contextually, even
             explanatory and background material will aid in understanding
USCA Case #22-7063     Document #2016393                 Filed: 09/12/2023        Page 13 of 19




                                            13
             and interpreting legal duties—especially when the
             promulgating agency references it. Courts routinely consult
             congressional findings, statements of purpose, and other
             background material enacted by Congress to decipher the
             meaning of ambiguous statutory provisions. See A. Scalia &
             B. Garner, Reading Law: The Interpretation of Legal Texts 218
             (2012). The introductory and background material of an
             incorporated standard—along with rules addressing how the
             standard operates in other contexts besides the one directly at
             issue—may prove similarly important for resolving
             ambiguities in the portions of standards that set forth the
             directly binding legal obligations.

                  The plaintiffs object that if Public Resource may post all
             portions of all incorporated standards, then parts of our
             discussion in ASTM II would be superfluous. Why, they ask,
             did we bother to remand for a standard-by-standard analysis
             and say that material “essential to comprehending one’s legal
             duties” has a stronger claim to fair use than background
             material that merely “help[s] inform one’s understanding” of
             regulatory requirements? See 896 F.3d at 450. One answer is
             that although the distinction among the three categories turns
             out not to matter much here, it might be dispositive in other
             contexts—for example, in assessing the fair-use defense of a
             for-profit firm that charges customers for copies of
             incorporated standards. Another answer is that although ASTM
             II stated that material in the first category has the strongest
             claim to fair use, we hardly suggested that material in the other
             categories would not also have strong claims. To the contrary,
             our overall analysis made clear that the first three factors tilt
             strongly in favor of Public Resource. See, e.g., id. at 449 (“at
             least as a general matter, [Public Resource’s] attempt to freely
             distribute standards incorporated by reference into law
             qualified as a use that furthered the purposes of the fair use
             defense”); id. at 451 (“All of the works at issue here fall at the
USCA Case #22-7063       Document #2016393                    Filed: 09/12/2023           Page 14 of 19




                                                14
             factual end of the fact-fiction spectrum, which counsels in
             favor of finding fair use.”); id. at 459 (Katsas, J., concurring)
             (“The Court’s fair-use analysis … puts a heavy thumb on the
             scale in favor of an unrestrained ability to say what the law
             is.”).

                  Second, the plaintiffs argue that, because they make
             standards available for free in online reading rooms, Public
             Resource’s use cannot be transformative. Yet all but one of
             these rooms opened after Public Resource began posting
             incorporated standards. Moreover, the plaintiffs’ reading
             rooms do not provide equivalent or even convenient access to
             the incorporated standards. Among other things, text is not
             searchable, cannot be printed or downloaded, and cannot be
             magnified without becoming blurry. Often, a reader can view
             only a portion of each page at a time and, upon zooming in,
             must scroll from right to left to read a single line of text. Public
             Resource’s postings suffer from none of these shortcomings.1


                  1
                     The plaintiffs also challenge three alleged inconsistencies in
             the district court’s analysis of particular standards. They first
             complain that the court found ASTM D1688 and ASTM D512 had
             been incorporated in full, but ASTM D2036 had been incorporated
             only in part, even though the same regulation incorporates all three
             standards. But the version of the regulation analyzed by the district
             court only references two of four test procedures from ASTM
             D2036, whereas the relevant version references every procedure
             from ASTM D1688 and ASTM D512. See 40 C.F.R. § 136.3, Table
             IB (2003); id. (2010). The plaintiffs also argue that the district court
             inconsistently characterized certain incorporated material as
             “essential for comprehending legal duties” as opposed to providing
             discretionary or reference procedures. Appellants’ Br. 30 (cleaned
             up). But this distinction was not dispositive to that court’s fair-use
             analysis, nor is it to ours. If anything, the difficulty in distinguishing
             “essential” material from discretionary or reference procedures
             supports the district court’s decision not to make that line dispositive.
USCA Case #22-7063     Document #2016393                 Filed: 09/12/2023        Page 15 of 19




                                            15
                                             B

                  The fourth fair-use factor is “the effect of the use upon the
             potential market for or value of the copyrighted work.” 17
             U.S.C. § 107(4). “It requires courts to consider not only the
             extent of market harm caused by the particular actions of the
             alleged infringer, but also whether unrestricted and widespread
             conduct of the sort engaged in by the defendant would result in
             a substantially adverse impact on the potential market for the
             original.” Campbell, 510 U.S. at 590 (cleaned up).

                 In ASTM II, we noted that Public Resource’s copying may
             harm the market for the plaintiffs’ standards, but we found the
             extent of any such harm to be unclear. 896 F.3d at 453. We
             noted three considerations that might reduce the amount of
             harm: First, the plaintiffs themselves make the incorporated
             standards available for free in their reading rooms. Second,
             Public Resource may not copy unincorporated standards—or
             unincorporated portions of standards only partially
             incorporated. Third, the plaintiffs have developed and
             copyrighted updated versions of the relevant standards, and
             these updated versions have not yet been incorporated into law.
             We asked the parties to address these issues, among others, on
             remand. See id.

                  The updated record remains equivocal. The plaintiffs
             press heavily on what seems to be a common-sense inference:
             If users can download an identical copy of an incorporated
             standard for free, few will pay to buy the standard. Despite its
             intuitive appeal, this argument overlooks the fact that the
             plaintiffs regularly update their standards—including all 185
             standards at issue in this appeal. And regulators apparently are
             much less nimble in updating the incorporations. So, many of
             the builders, engineers, and other regular consumers of the
             plaintiffs’ standards may simply purchase up-to-date versions
USCA Case #22-7063      Document #2016393                 Filed: 09/12/2023         Page 16 of 19




                                             16
             as a matter of course. Moreover, some evidence casts doubt on
             the plaintiffs’ claims of significant market injury. Public
             Resource has been posting incorporated standards for fifteen
             years. Yet the plaintiffs have been unable to produce any
             economic analysis showing that Public Resource’s activity has
             harmed any relevant market for their standards. To the
             contrary, ASTM’s sales have increased over that time; NFPA’s
             sales have decreased in recent years but are cyclical with
             publications; and ASHRAE has not pointed to any evidence of
             its harm. See ASTM III, 597 F. Supp. 3d at 240.

                  The plaintiffs’ primary evidence of harm is an expert
             report opining that Public Resource’s activities could put the
             plaintiffs’ revenues at risk.          Yet although the report
             qualitatively describes harms the plaintiffs could suffer, it
             makes no serious attempt to quantify past or future harms. Like
             the district court, we find it “telling” that the plaintiffs “do not
             provide any quantifiable evidence, and instead rely on
             conclusory assertions and speculation long after [Public
             Resource] first began posting the standards.” ASTM III, 597 F.
             Supp. 3d at 240.

                  Finally, our analysis of market effects must balance any
             monetary losses to the copyright holders against any “public
             benefits” of the copying. Oracle, 141 S. Ct. at 1206. Thus,
             even if Public Resource’s postings were likely to lower demand
             for the plaintiffs’ standards, we would also have to consider the
             substantial public benefits of free and easy access to the law.
             As the Supreme Court recently confirmed: “Every citizen is
             presumed to know the law, and it needs no argument to show
             that all should have free access” to it. Georgia v.
             Public.Resource.Org., Inc., 140 S. Ct. 1498, 1507 (2020)
             (cleaned up).
USCA Case #22-7063      Document #2016393                   Filed: 09/12/2023         Page 17 of 19




                                              17
                  We conclude that the fourth fair-use factor does not
             significantly tip the balance one way or the other. Common
             sense suggests that free online access to many of the plaintiffs’
             standards would tamp down the demand for their works. But
             there are reasons to doubt this claim, the record evidence does
             not strongly support it, and the countervailing public benefits
             are substantial.2

                                        *    *      *   *

                 In sum, the first three factors under section 107 strongly
             favor fair use, and the fourth is equivocal. We thus conclude
             that Public Resource’s non-commercial posting of
             incorporated standards is fair use.

                                              III

                  Finally, the plaintiffs contend that the district court abused
             its discretion by refusing to enjoin Public Resource after
             finding that it had infringed the copyrights for the 32 standards
             not incorporated by reference into law. We disagree.

                  The Copyright Act provides that a district court “may …
             grant temporary and final injunctions on such terms as it may
             deem reasonable to prevent or restrain infringement.” 17
             U.S.C. § 502(a). Such language gives the court “considerable
             discretion” in deciding whether to issue an injunction. Roche
             Prods., Inc. v. Bolar Pharm. Co., 733 F.2d 858, 865 (Fed. Cir.
             1984) (interpreting analogous language in the Patent Act).
             Thus, the Supreme Court has “consistently rejected invitations
             to replace traditional equitable considerations with a rule that
             an injunction automatically follows a determination that a

                  2
                      Because these considerations make the fourth factor
             equivocal, we need not, and thus do not, resolve the parties’ extended
             debate over who bears the burden of proof on that factor.
USCA Case #22-7063     Document #2016393                 Filed: 09/12/2023        Page 18 of 19




                                            18
             copyright has been infringed.” eBay Inc. v. MercExchange,
             LLC, 547 U.S. 388, 392–93 (2006).

                  One important equitable consideration is whether the
             defendant “has ceased its infringing conduct and shows no
             inclination to repeat the offense.” Reader’s Digest Ass’n v.
             Conservative Digest, Inc., 821 F.2d 800, 807 (D.C. Cir. 1987).
             If so, a court may decline to enter an injunction. See id.
             (defendants had ceased infringing trade dress, and district court
             “had ample reason to find that they did not intend to infringe
             again”); Harolds Stores, Inc. v. Dillard Dep’t Stores, Inc., 82
             F.3d 1533, 1555 (10th Cir. 1996) (“When there is no
             probability or threat of continuing infringements, injunctive
             relief is ordinarily inappropriate.” (citing 3 M. Nimmer & D.
             Nimmer, Nimmer on Copyright § 14.06[B] (1995))).

                  Here, the district court reasonably declined to enter an
             injunction. Public Resource promptly removed from its
             website the 32 standards found not to have been incorporated
             into law. Moreover, the district court found that Public
             Resource intends “to only post documents that have been
             incorporated into law,” ASTM III, 597 F. Supp. 3d at 245, and
             the plaintiffs do not challenge this finding as clearly erroneous.
             Nor do they point to any instance where Public Resource
             intentionally posted a standard knowing that it had not been
             incorporated. So, an injunction is unlikely to serve any useful
             purpose. And as the district court explained, “the public would
             be greatly disserved by an injunction barring distribution of any
             of the 32 standards which may later be incorporated by
             reference into law.” Id. at 246.

                  The plaintiffs object that Public Resource has continued to
             post additional standards since this lawsuit began. This misses
             the point—what Public Resource intends to continue is its
             permissible practice of posting incorporated standards for
USCA Case #22-7063     Document #2016393               Filed: 09/12/2023       Page 19 of 19




                                           19
             educational purposes. The plaintiffs also cite cases where a
             defendant ceased infringement after being “caught red-
             handed” yet would likely attempt future infringement if the
             threat of punishment disappeared. Walt Disney Co. v. Powell,
             897 F.2d 565, 568 (D.C. Cir. 1990). But as noted above, the
             plaintiffs give us no reason to think that Public Resource will
             post unincorporated standards again absent an injunction.

                  For these reasons, the district court reasonably exercised
             its discretion in declining to award injunctive relief.

                                                                  Affirmed.
